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12                           UNITED STATES DISTRICT COURT

13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,                No. CR 20-CR-35-JFW

15              Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
                                              MITCHELL ENGLANDER
16                   v.

17   MITCHELL ENGLANDER,

18              Defendant.

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20        1.    This constitutes the plea agreement between MITCHELL
21   ENGLANDER (“defendant”) and the United States Attorney’s Office for
22   the Central District of California (the “USAO”) in the above-
23   captioned case.      This agreement is limited to the USAO and cannot
24   bind any other federal, state, local, or foreign prosecuting,
25   enforcement, administrative, or regulatory authorities.
26                              DEFENDANT’S OBLIGATIONS
27        2.    Defendant agrees to:
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 1                a.   At the earliest opportunity requested by the USAO and

 2   provided by the Court, appear and plead guilty to count one of the

 3   indictment in United States v. Mitchell Englander, No. 20-CR-35-JFW,

 4   which charges defendant with a scheme to falsify material facts, in

 5   violation of 18 U.S.C. § 1001(a)(1).

 6                b.   Not contest the Factual Basis agreed to in this

 7   agreement.

 8                c.   Abide by all agreements regarding sentencing contained

 9   in this agreement.

10                d.   Appear for all court appearances, surrender as ordered

11   for service of sentence, obey all conditions of any bond, and obey

12   any other ongoing court order in this matter.

13                e.   Not commit any crime; however, offenses that would be

14   excluded for sentencing purposes under United States Sentencing

15   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

16   within the scope of this agreement.

17                f.   Be truthful at all times with the United States

18   Probation and Pretrial Services Office and the Court.

19                g.   Pay the applicable special assessment at or before the

20   time of sentencing unless defendant has demonstrated a lack of

21   ability to pay such assessments.

22                              THE USAO’S OBLIGATIONS

23        3.      The USAO agrees to:

24                a.   Not contest the Factual Basis agreed to in this

25   agreement.

26                b.   Abide by all agreements regarding sentencing contained

27   in this agreement.

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 1              c.    At the time of sentencing, move to dismiss the

 2   remaining counts of the indictment as against defendant.           Defendant

 3   agrees, however, that at the time of sentencing the Court may

 4   consider any dismissed charges in determining the applicable

 5   Sentencing Guidelines range, the propriety and extent of any

 6   departure from that range, and the sentence to be imposed.

 7              d.    At the time of sentencing, provided that defendant

 8   demonstrates an acceptance of responsibility for the offense up to

 9   and including the time of sentencing, recommend a two-level reduction

10   in the applicable Sentencing Guidelines offense level, pursuant to

11   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

12   additional one-level reduction if available under that section.

13              e.    Not seek a sentence of imprisonment above 36 months of

14   imprisonment.

15                               NATURE OF THE OFFENSE

16        4.    Defendant understands that for defendant to be guilty of

17   the crime charged in count one, that is, a scheme to falsify material

18   facts, in violation of Title 18, United States Code, Section

19   1001(a)(1), the following must be true: (1) defendant had a duty to

20   disclose material information; (2) defendant falsified, concealed, or

21   covered up such a fact by trick, scheme, or fraud; (3) the falsified,

22   concealed, or covered up fact was material; (4) the falsification

23   and/or concealment was knowing and willful; and (5) the material fact

24   was within the jurisdiction of the Executive Branch.

25                                      PENALTIES

26        5.    Defendant understands that the statutory maximum sentence

27   that the Court can impose for a violation of Title 18, United States

28   Code, Section 1001, is: 5 years of imprisonment; a 3-year period of

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 1   supervised release; a fine of $250,000 or twice the gross gain or

 2   gross loss resulting from the offense, whichever is greatest; and a

 3   mandatory special assessment of $100.

 4        6.    Defendant understands that supervised release is a period

 5   of time following imprisonment during which defendant will be subject

 6   to various restrictions and requirements.         Defendant understands that

 7   if defendant violates one or more of the conditions of any supervised

 8   release imposed, defendant may be returned to prison for all or part

 9   of the term of supervised release authorized by statute for the

10   offense that resulted in the term of supervised release, which could

11   result in defendant serving a total term of imprisonment greater than

12   the statutory maximum stated above.

13        7.    Defendant understands that, by pleading guilty, defendant

14   may be giving up valuable government benefits and valuable civic

15   rights, such as the right to vote, the right to possess a firearm,

16   the right to hold office, and the right to serve on a jury.

17   Defendant understands that he is pleading guilty to a felony and that

18   it is a federal crime for a convicted felon to possess a firearm or

19   ammunition.    Defendant understands that the conviction in this case

20   may also subject defendant to various other collateral consequences,

21   including but not limited to revocation of probation, parole, or

22   supervised release in another case and suspension or revocation of a

23   professional license.     Defendant understands that unanticipated

24   collateral consequences will not serve as grounds to withdraw

25   defendant’s guilty plea.

26                                    FACTUAL BASIS

27        8.    Defendant admits that defendant is, in fact, guilty of the

28   offense to which defendant is agreeing to plead guilty.           Defendant

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 1   and the USAO agree to the statement of facts set forth in Attachment

 2   A and agree that this statement of facts is sufficient to support a

 3   plea of guilty to the charge described in this agreement and to

 4   establish the Sentencing Guidelines factors set forth in paragraph 10

 5   below but is not meant to be a complete recitation of all facts

 6   relevant to the underlying criminal conduct or all facts known to

 7   either party that relate to that conduct.

 8                                 SENTENCING FACTORS

 9        9.      Defendant understands that in determining defendant’s

10   sentence the Court is required to calculate the applicable Sentencing

11   Guidelines range and to consider that range, possible departures

12   under the Sentencing Guidelines, and the other sentencing factors set

13   forth in 18 U.S.C. § 3553(a).       Defendant understands that the

14   Sentencing Guidelines are advisory only, that defendant cannot have

15   any expectation of receiving a sentence within the calculated

16   Sentencing Guidelines range, and that after considering the

17   Sentencing Guidelines and the other § 3553(a) factors, the Court will

18   be free to exercise its discretion to impose any sentence it finds

19   appropriate up to the maximum set by statute for the crime of

20   conviction.

21        10.     Except as set forth in paragraph 3(d) and 3(e) above,

22   defendant and the USAO have no agreement as to the appropriate

23   sentence or the applicable Sentencing Guidelines factors.            Except as

24   set forth in paragraph 3(d) and 3(e), both parties reserve the right

25   to argue for any criminal history score and category, base offense

26   level, specific offense characteristics, adjustments, departures, and

27   variances.

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 1        11.     Consistent with paragraph 3, defendant and the USAO reserve

 2   the right to argue for a sentence outside the sentencing range

 3   established by the Sentencing Guidelines based on the factors set

 4   forth in 18 U.S.C. § 3553(a)(1), (a)(2), (a)(3), (a)(6), and (a)(7).

 5   Specifically, defendant reserves the right to argue for a sentence of

 6   probation.

 7                         WAIVER OF CONSTITUTIONAL RIGHTS

 8        12.     Defendant understands that by pleading guilty, defendant

 9   gives up the following rights:

10                a.   The right to persist in a plea of not guilty.

11                b.   The right to a speedy and public trial by jury.

12                c.   The right to be represented by counsel –- and if

13   necessary have the Court appoint counsel -- at trial.           Defendant

14   understands, however, that, defendant retains the right to be

15   represented by counsel –- and if necessary have the Court appoint

16   counsel –- at every other stage of the proceeding.

17                d.   The right to be presumed innocent and to have the

18   burden of proof placed on the government to prove defendant guilty

19   beyond a reasonable doubt.

20                e.   The right to confront and cross-examine witnesses

21   against defendant.

22                f.   The right to testify and to present evidence in

23   opposition to the charges, including the right to compel the

24   attendance of witnesses to testify.

25                g.   The right not to be compelled to testify, and, if

26   defendant chose not to testify or present evidence, to have that

27   choice not be used against defendant.

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 1              h.    Any and all rights to pursue any affirmative defenses,

 2   Fourth Amendment or Fifth Amendment claims, and other pretrial

 3   motions that have been filed or could be filed.

 4                          WAIVER OF APPEAL OF CONVICTION

 5        13.   Defendant understands that, with the exception of an appeal

 6   based on a claim that defendant’s guilty plea was involuntary, by

 7   pleading guilty defendant is waiving and giving up any right to

 8   appeal defendant’s conviction on the offense to which defendant is

 9   pleading guilty.    Defendant understands that this waiver includes,

10   but is not limited to, arguments that the statute to which defendant

11   is pleading guilty is unconstitutional, and any and all claims that

12   the statement of facts provided herein is insufficient to support

13   defendant’s plea of guilty.

14                   LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

15        14.   Defendant agrees that, provided the Court imposes a total

16   term of imprisonment on all counts of conviction of no more than 36

17   months of imprisonment, defendant gives up the right to appeal all of

18   the following: (a) the procedures and calculations used to determine

19   and impose any portion of the sentence; (b) the term of imprisonment

20   imposed by the Court; (c) the fine imposed by the Court, provided it

21   is within the statutory maximum; (d) to the extent permitted by law,

22   the constitutionality or legality of defendant’s sentence, provided

23   it is within the statutory maximum; (e) the term of probation or

24   supervised release imposed by the Court, provided it is within the

25   statutory maximum; and (f) any of the following conditions of

26   probation or supervised release imposed by the Court: the conditions

27   set forth in General Order 18-10 of this Court; the drug testing

28   conditions mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d).

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 1        15.     The USAO agrees that, provided all portions of the sentence

 2   are at or below the statutory maximum specified above and the Court

 3   imposes a term of imprisonment within or above the range

 4   corresponding to an offense level of 15 and the criminal history

 5   category calculated by the Court, the USAO gives up its right to

 6   appeal any portion of the sentence.

 7                       RESULT OF WITHDRAWAL OF GUILTY PLEA

 8        16.     Defendant agrees that if, after entering a guilty plea

 9   pursuant to this agreement, defendant seeks to withdraw and succeeds

10   in withdrawing defendant’s guilty plea on any basis other than a

11   claim and finding that entry into this plea agreement was

12   involuntary, then (a) the USAO will be relieved of all of its

13   obligations under this agreement; and (b) should the USAO choose to

14   pursue any charge that was either dismissed or not filed as a result

15   of this agreement, then (i) any applicable statute of limitations

16   will be tolled between the date of defendant’s signing of this

17   agreement and the filing commencing any such action; and

18   (ii) defendant waives and gives up all defenses based on the statute

19   of limitations, any claim of pre-indictment delay, or any speedy

20   trial claim with respect to any such action, except to the extent

21   that such defenses existed as of the date of defendant’s signing this

22   agreement.

23                    RESULT OF VACATUR, REVERSAL OR SET-ASIDE

24        17.     Defendant agrees that if the count of conviction is

25   vacated, reversed, or set aside, both the USAO and defendant will be

26   released from all their obligations under this agreement.

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 1                            EFFECTIVE DATE OF AGREEMENT

 2           18.   This agreement is effective upon signature and execution of

 3   all required certifications by defendant, defendant’s counsel, and an

 4   Assistant United States Attorney.

 5                                BREACH OF AGREEMENT

 6           19.   Defendant agrees that if defendant, at any time after the

 7   signature of this agreement and execution of all required

 8   certifications by defendant, defendant’s counsel, and an Assistant

 9   United States Attorney, knowingly violates or fails to perform any of

10   defendant’s obligations under this agreement (“a breach”), the USAO

11   may declare this agreement breached.        All of defendant’s obligations

12   are material, a single breach of this agreement is sufficient for the

13   USAO to declare a breach, and defendant shall not be deemed to have

14   cured a breach without the express agreement of the USAO in writing.

15   If the USAO declares this agreement breached, and the Court finds

16   such a breach to have occurred, then: (a) if defendant has previously

17   entered a guilty plea pursuant to this agreement, defendant will not

18   be able to withdraw the guilty plea, and (b) the USAO will be

19   relieved of all its obligations under this agreement.

20           20.   Following the Court’s finding of a knowing breach of this

21   agreement by defendant, should the USAO choose to pursue any charge

22   that was either dismissed or not filed as a result of this agreement,

23   then:

24                 a.   Defendant agrees that any applicable statute of

25   limitations is tolled between the date of defendant’s signing of this

26   agreement and the filing commencing any such action.

27                 b.   Defendant waives and gives up all defenses based on

28   the statute of limitations, any claim of pre-indictment delay, or any

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 1   speedy trial claim with respect to any such action, except to the

 2   extent that such defenses existed as of the date of defendant’s

 3   signing this agreement.

 4               c.   Defendant agrees that: (i) any statements made by

 5   defendant, under oath, at the guilty plea hearing (if such a hearing

 6   occurred prior to the breach); (ii) the agreed to factual basis

 7   statement in this agreement; and (iii) any evidence derived from such

 8   statements, shall be admissible against defendant in any such action

 9   against defendant, and defendant waives and gives up any claim under

10   the United States Constitution, any statute, Rule 410 of the Federal

11   Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

12   Procedure, or any other federal rule, that the statements or any

13   evidence derived from the statements should be suppressed or are

14   inadmissible.

15           COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

16                                 OFFICE NOT PARTIES

17         21.   Defendant understands that the Court and the United States

18   Probation and Pretrial Services Office are not parties to this

19   agreement and need not accept any of the USAO’s sentencing

20   recommendations or the parties’ agreements to facts or sentencing

21   factors.

22         22.   Defendant understands that both defendant and the USAO are

23   free to: (a) supplement the facts by supplying relevant information

24   to the United States Probation and Pretrial Services Office and the

25   Court, (b) correct any and all factual misstatements relating to the

26   Court’s Sentencing Guidelines calculations and determination of

27   sentence, and (c) argue on appeal and collateral review that the

28   Court’s Sentencing Guidelines calculations and the sentence it

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 1   chooses to impose are not error, although each party agrees to

 2   maintain its view that the calculations in paragraph 10 are

 3   consistent with the facts of this case.         This paragraph permits both

 4   the USAO and defendant to submit full and complete factual

 5   information to the United States Probation and Pretrial Services

 6   Office and the Court, even if that factual information may be viewed

 7   as inconsistent with the Factual Basis agreed to in this agreement.

 8         23.   Defendant understands that even if the Court ignores any

 9   sentencing recommendation, finds facts or reaches conclusions

10   different from those agreed to, and/or imposes any sentence up to the

11   maximum established by statute, defendant cannot, for that reason,

12   withdraw defendant’s guilty plea, and defendant will remain bound to

13   fulfill all defendant’s obligations under this agreement.            Defendant

14   understands that no one –- not the prosecutor, defendant’s attorney,

15   or the Court –- can make a binding prediction or promise regarding

16   the sentence defendant will receive, except that it will be within

17   the statutory maximum.

18                              NO ADDITIONAL AGREEMENTS

19         24.   Defendant understands that, except as set forth herein,

20   there are no promises, understandings, or agreements between the USAO

21   and defendant or defendant’s attorney, and that no additional

22   promise, understanding, or agreement may be entered into unless in a

23   writing signed by all parties or on the record in court.

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